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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                  )    DOCKET NO.: 1:13CR00126-BYP-1
                                           )
               Plaintiff,                  )    JUDGE BENITA Y. PEARSON
                                           )
vs.                                        )
                                           )
DIVNA MASLENJAK                            )
                                           )
               Defendant.                  )


                              NOTICE OF APPEAL
Now comes the Defendant/Appellant, Divna Maslenjak, by and through counsel, and hereby

gives notice that Defendant hereby appeals to the United States Court of Appeals for the Sixth

Circuit from the sentencing and judgment of this United States District Court for the Northern

District of Ohio, Eastern Division, entered in this action on the 15th day of August, 2014 and

also any related pre- and post-trial orders denying relief as requested by Defendant/Appellant,

specifically but not limited to, the Order resolving ECF No. 42 filed on August 14, 2014.

                                     Respectfully submitted,

                                     BUCKINGHAM, DOOLITTLE & BURROUGHS, LLC

                                     By:       /s/ Peter T. Cahoon
                                               Peter T. Cahoon #0007343
                                               Joshua D. Nolan #0084592
                                               3800 Embassy Parkway, Suite 300
                                               Akron, Ohio 44333
                                               Phone: (330) 376-5300
                                               Attorneys for Defendant/Appellant
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                                      PROOF OF SERVICE

        A true copy of the foregoing was filed electronically in Case No. 1:13CR00126-001.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular U.S. Mail.
Parties may access this filing through the Court’s system.

      A true copy of the foregoing has been sent, by ordinary U.S. Mail service, this 28th day
of August, 2014, to

Phillip J. Tripi
Assistant U.S. Attorney
801 W. Superior Ave., Suite 400
Cleveland, Ohio 44113

Adam Hollingsworth
Assistant U.S. Attorney
801 W. Superior Ave., Suite 400
Cleveland, Ohio 44113

                                       /s/ Peter T. Cahoon
                                       Peter T. Cahoon #0007343
                                       Attorney for Defendant

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